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                      UNITED STATES DISTRICT COURT
             FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6,1
                                 Eastern Division

Paul Simkus
                            Plaintiff,
v.                                                Case No.: 1:13−cv−04388
                                                  Honorable Thomas M. Durkin
United Airlines
                            Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Friday, January 16, 2015:


        MINUTE entry before the Honorable Jeffrey T. Gilbert: Defendant's Motion for
Entry of a Protective Order [72] is taken under advisement. Plaintiff's response to
Defendant's Motion [72] shall be filed by 2/9/15. The motion hearing noticed for 2/12/15
at 1:30 p.m. is stricken. The Court will either rule on Defendant's Motion [72] via
CM/ECF or set it for hearing on another date. At the Court's instance, the Rule 16
Conference set for 2/12/15 at 1:30 p.m. is reset to 2:00 p.m. This is a change in time only.
Mailed notice (ber, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
refer to it for additional information.
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